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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                          MDL No. 2804
OPIATE LITIGATION
                                                      Case No. 1:17-md-2804
This document relates to: 1:20-op-45060
                                                      JUDGE DAN AARON POLSTER
Taylor County Hospital District Health
Facilities Corporation



          STIPULATION AND ORDER DISMISSING WITH PREJUDICE CLAIMS

        WHEREAS, Defendants AmerisourceBergen Drug Corporation, H. D. Smith, LLC f/k/a

H. D. Smith Wholesale Drug Co., and Cardinal Health, Inc. (collectively, and together with their

Distributor Released Entities,1 the “Distributor Defendants”); and Johnson & Johnson, Janssen

Pharmaceuticals,      Inc.,    Ortho-McNeil-Janssen         Pharmaceuticals,       Inc.    n/k/a    Janssen

Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.

(collectively, and together with their Released Entities, 2 the “Janssen Defendants”) filed in the

above-captioned case a Motion to Dismiss the claims of Plaintiff Taylor County Hospital District

Health Facilities Corporation (“Plaintiff”) as released by Kentucky statute, K.R.S. § 15.293 (Doc.

No. 5152) (“the Motion to Dismiss”);

          AND WHEREAS, Plaintiff has reviewed the Motion to Dismiss and agrees that its claims

against the Distributor Released Entities and Janssen Released Entities are released by K.R.S. §

15.293;




1
  The Distributor Released Entities are each and every entity that is a “Released Entity” as set forth in
Section I.HHH and Exhibit J of the Distributor Settlement Agreement, dated as of March 25, 2022.
2
  The Janssen Released Entities are each and every entity that is a “Released Entity” as set forth in Section
I.61 and Exhibit J of the Janssen Settlement Agreement, dated as of March 30, 2022.
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       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned counsel

of record for Plaintiff, the Distributor Defendants, and the Janssen Defendants that all claims

of Plaintiff that were or could have been asserted in this action against any Distributor Released

Entity or any Janssen Released Entity, including any entity identified in the Distributor

Settlement Agreement and the Janssen Settlement Agreement, are hereby voluntarily

released and DISMISSED WITH PREJUDICE, with each party to bear its own costs.



September 27, 2023                                  Respectfully Submitted,

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 V'DQ$DURQ3ROVWHU
Hon. Dan Aaron Polster
United States District Judge




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